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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UNITED STATES COMMODITY                          §
FUTURES TRADING COMMISSION,                      §
                                                 §
                   Plaintiff,                    §
                                                 §
v.                                               §          Civil Action No. A-12-CV-0862-LY
                                                 §
SENEN POUSA, INVESTMENT                          §
INTELLIGENCE CORPORATION,                        §
DBA PROPHETMAX MANAGED FX,                       §
JOEL FRIANT, MICHAEL DILLARD, and                §
ELEVATION GROUP, INC.,                           §
                                                 §
                   Defendants.                   §

                   ORDER GRANTING RECEIVER’S UNOPPOSED
                 MOTION APPROVAL OF EIGHTH FEE APPLICATION

       Before the Court is the Receiver’s Unopposed Motion for Approval of Eighth Fee

Application and Brief in Support (“Motion”). Having considered the Motion, the evidence

presented, and arguments of counsel, if any, the Court finds that the time spent, services performed,

hourly rates charged, and expenses incurred by the Receiver and his retained professionals were

reasonable and necessary for the Receiver to perform his Court-ordered duties. The Court

concludes that the Motion should be, and is hereby, GRANTED.

       It is therefore ORDERED that payment for interim fees and expenses of $25,327.53 to the

Receiver, and interim fees and expenses of $7014.18 to the law firm of Hohmann, Brophy &

Shelton, PLLC and interim fees and expenses of $10,038.88 to the law firm of Van Oosten

Advocaten for services rendered to the ProphetMax Receivership Estate and IB Capital

Receivership Estate during the Eighth Fee Period is approved.

       SIGNED this              day of                               , 2018.
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                                  LEE YEAKEL
                                  UNITED STATES DISTRICT JUDGE
